               Case 3:19-cv-00003-BAJ-EWD                       Document 1-2                       01/02/19 Page 1 of 20

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                                                                                                                                                                   D925438

                                                                                  CITATION

                       ANTHONY RAY VICKNAIR, SR., ET AL                                          NUMBER C-676051 SEC.26
                       (Plaintiff)
                                                                                                 Igth JUDICIAL DISTRICT COURT
                       VS
                                                                                                 PARISH OF EAST BATON ROUGE
                       LM GENERAL INSURANCE COMPANY, ET
                       AL                                                                        STATE OF LOUISIANA
                       (Defendant)



                       TO
                                  ;ilftb}8fi        rrs AcENr FoR sERvrcE oF pRoc'ss, cr coRpoRArroN sysr'M
                                  3867 PLAZATOWER DRIVE
                                  BATONROUGE, LA70816

                       GREETINGS

                                  Attached to this citation is a certified copy of the petition*, The petition tells you what you are being
                       sued for.
                              You must EITI{ER do what the petition asks OR, *ithin fift*.n (15) days after you have received
                       these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at
                       300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
                       an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further
                       notice,
                               This citation was issued by the Clerk of Court for East Baton Rouge Parish on NOVEMBER 13,
                       2018.




                                                                                                                HW4YWAW
                                                                                                                Deputy Clerk of Court for
                                                                                                                Doug Welborn, Clerk of Court
                       Requesting Attorneyl WILKINS, W PAUL
                                            ,       (22s)379-4938
                       +The following documents areattached:
                       PETITJON F'OR DAMAGES, RSQUEST FOR NOTICE, PLAINTIFF'S FIRST SET OF REQUESTS FOR
                       PRODUCTION OF DOCUMENTS AND TIIINCS
                                                                               SERVICE INRORMATION:

                       Received on the _      day   of              .20_        and on the           day   of                      20-              served on the above
                       named pnny as fol)ows;
                       PERSONAL SERVICE: On the party herein narned       at


                       nOrutclt taifv Sf,RVICEt 0n the wlthln named                                               by leavlng the same at hls domicilc in lhis parish
                       int}rehandsol-'apeIsonofsuitableageanddiscreti<inresjdin8lnthesald.domicileat

                       SDCRETARY OF STATE: By tendcring same to ihe wlthln named, by handing same to

                       DUE ANO DILIGENT: After diligent search and inquiry was unable to find the within namcd          ---------_*;-                           or his
                       domicilc, or anyone legally authorized to rcpresent him.

                       RETURNED:ParishofEastBatonRouge,thlsdayof-'20-.

                       SERVICE:            $-.-_
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                       TOTAL:              $*-*..__                   -                 Parish of East Boton Rougo

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Case 3:19-cv-00003-BAJ-EWD                                            Document 1-2                                        01/02/19 Page 2 of 20
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                                                                                                                                                                  678057                           26
                          ANTEONY RAY VICKNAIR, SR.,                                                                            DOCKETNO.:                                        SECT:
                          HEIDI VISKNAIR VIOLA, AND
                          ANTIIOT{Y RAY VICKNAIR, trR.

                          ItERS-uS                                                                                              19TH     JUDICAL DISTRTCT COURT
                          LM CENERAL INSURANCE
                          COMPAI{Y, ROBERT DEANGELO,
                          CB&T, LLC, MCDERMOTT, INC.,                                                                           PARISH OF EAST BATON ROUGE
                          AND STATEFARMMUTUAL
                          AUTOMOBILE INSURANCE
                          COMPANY                                                                                               STATD OFLOUISINA
                          llr,rrlltlrr:lqlrfaallrrrrrrrlrralrarraatrrrtt.araarrtrrrrl,ttrtaarttttatataaarrt

                                                                                      PETITION T'OR DAMAGES

                                        NOW INTO COURT, through undersigned counsel, oomes, i\nthony Ray Vicknalr, Sr.,

                          and Heidi Vicknair Viola, residents of the                                    full     age of majority of the parish of Tangipahoa" State

                          of Louisiana" and Anthony Ray vieknalr, Jr., a resident of the fuu age of majority of the parish

                          of St, Tammany, individually and                                   as the husband, daughter, and                                    son, and helre of                     Tena B.

                          Hayden; who respeotftrlly represent:

                                                                                                                     1,

                                      Made defendauts herein are:

                                                            a. LM             GENORAL INSURANCE COMPAIfI',                                                                a     forelgn            insurance
                                                                   company, with its agent for service ofprocess being the Secrctary of State,
                                                                   Strate of Louisian4


                                                            b.     ROBERT DEANGELO, upon information and belief, a resident of tho
                                                                   full age of majorlty of the State of Mlssissippi;

                                                            c.     CB&I, LLC, a foreign limited liability oompany, authorized to do and
                                                                   doing business in the State of louisiana, with a registered offioe in East
                                                                   Baton Rouge Parish, with its agent foi Service of Process being CT
                                                                   Corporation Systern;

                                                           d,      MCDERMOT"I, INC., a foreign corporation, authorlzed to do and,doing
                                                                   buslness in the State ofLouisiana, with a registered office in East Baton
                                                                   Rouge Parish, with its agent for Service ofProcess being CT Corporation
                                                                   Syste1n. MoDetmott, Inc. ls the successor-in-interest to CB&I, LLC, by
                                                                   virtue of an acquisition that took place following this wreck; snd

                                                           e, STATE I'ARM [rUfU.,c.L AUTOMOBILE                              INSURANCE
                                                                   COMPANY, a forelgn insurance company authorlzed to do and doln5j
                                                                   business in the State of Louisiana, with ie agent for servioe of prooess
                                                                   belng the Secretary ofState, State ofLouisiana.




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Case 3:19-cv-00003-BAJ-EWD                                Document 1-2                               01/02/19 Page 3 of 20




                                                                                                2...:
                             ion February 2,20!8,at 7t33 p.m,, Tena B,'Hayden, was. driving a 20l                                                      i   Hyundai Elantra,

               itopped for treffic in the enstbound left lone on Interstale 12, in Livingston Parish, I--ouisiana-

                                                                                                3,

                             On February 2, 2018, at 7:33 p.m., Robert DeAirgelo was dtiving a 2006 Chewolet

               Avalanchc, travciing castbound in thc lcft lanc oftravcl, bchind Tena B, Hayden;

                                                        .4.
                             Robert DeAngelo drctVe his Avalanche into the back of Tena B. Haydcn's car.
                         .

                                                                                                5.
                     l

                             The impact propelled Tena B, Hayden's car into the back of the 20 13 Honda Accord that

               qvas stopped       in ftont of her, which was operated by William A. Carnvright.
               '':
                                                                                                6,

                             Tena B. HAyden's car then careened actoss the rlght lano oftravel and left the roadway,

                                                                                                a


                             Tena B. Hayden's car then caught fire,

                                                                                                8,

                             Tena B. Hayden died from injuries sustained in tbjs crash,

                                                                                                9.     .'

                             the fault of         defeirda4t,'Robert DeAngelo, was the cause of the crash, the death of Tsna

               Hayden arid thc resulting.damagcs and losses susiaitred and asserted by petitioners,                                                                       in    the

               following particulats:'

                                      a.              Speeding;

                                      b.              Driving whilc fatigucd;

                                      c.              Recklesgly operoting the vohicle;

                                      d.              Faillng to see what hs should have seen;                           .




                                      e.              Failing to pay altentiori;

                                      f,              Failing to take evaslve action(s);

                                      g.              Failing to act in a'reasonable and safe manner;




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Case 3:19-cv-00003-BAJ-EWD                                           Document 1-2                 01/02/19 Page 4 of 20




                             '         h.                       Failing to maintain reasonable and proper conhol of l'ls vehlcle upon a
                                               ' ' public road;
                                       i.                       Wanton   agrd reckless   disregard fur the safety of others; and
                                  'l
                                       j
                                           '                    Other acts pf negligence which werc the cause of tbis collision and               will   be

                                                        I shown at rhe trial of this matter,

                                                                                            10.

                             At the time of the crash, Robcrt DeAngelo was the                                     agent, servant and/or employee        of
               CB&I, LLC., and./or McDernrott, .Inc, and was acting within the cowss and scope'of                                                      such

               agency(ies), servitude iurd/or omployment at th€ time of the uash.
                                                        :-
                                                        I




                                                                                            ll'
                                                        i
                       '     As a conseqdence of the foregoing, defendant, CB&I; LLC, and/or McDermott, Ino.,
               is/are vicatious iiaUle for the damages asserled hetein and caused                                             !y   defendan! Robert
                                                        I


               DeAngleo, by virtue pi the doctrine of respondeat supartot.                                     .      -

                                                        i                                   tz,
                             Robert DgAngreio's travel in Livingston Parish arose out 9f his employment                                    *ittr CgAt,
               .LLC and/or McDermott,.Inc.
                                                                                                                             ./
                                                                               .            13,

                '            CB&I, LLC land/or McDomotq Inc. interested itsolf in Robert DeAngelo,s travel
               behpeen thc Sulphur; Louisiana workiito and his homo in. Mlssisgippl by reimbursing Robgrt

               DoAngelo for his,travpl €xpenses.

                                                            i                               14.

                             Robcrt DoAn$elo's travel thtough Livingston Parish at iha timo of the                                  weck benefitted
                                                            I

               CB&I, LLC and/ot McDermott, Inc.

                                                                                            l5'
                             The negligencp of deiendants, CB&I,'LLC., and/oi McDermott, Ino,, was a contributing

               factor of the crash, the death of Tena Hayden and the resulting drimages and losbes sustained and

               asserted by petitioners, in tho                         following particulars:

                             a.        Negligent hiring and,/or confteiting of Robert DeAngolo; and

                             b.        Negligent training of Robert DeAngelo;. and
                        'i

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                                                 t                                                              ,.
                                                                                                                     1


                      .         c.      !.lpgligont retenlion of Robert DeAngelo;           and           :

                          . d.          Neglilent entnrstrnent of Robart DeAngeloi              and

                                e'      Otheriacts cif negligence which were tho cause of thls collision and             wlil   be shown

                                        at the,blal of thls motter
                                                 rl
                                                 r                             16.

                               At thg.time of this ffash, there was in firll force and effect
                                                                         a policy of inswance issuod by

              'dcfendant LM Gcneral Insurancc Cornpany to
                                                          Robert DeAngelo, und€r the terms of which it
                  agreed to insure and indemnifu dofgndant from the damages asserted                  herern.        .
                                                                                                                 ,
                                          i      I                             17,

              .                At the time of the crash, Robert DiAngelo was an underinsured motorist.

                                                 I                            18',

                          .,   At the tim. oiihe crash, Tena Hayden's vchlcle was insured.by state Farm
                                                                                                        Mutual
                  Automoblle Insurancb company wlth,an uninsued/undetinsured insurance policy,
                                                                                               under                            the   .,

                  terms of which it agrees to cover Tena Hayden, and/or her heirs for
                                                                                      aoy and all damages over
                                                 I

                  and above the        limits ofthe policy ofliability insurance.
                                                 i
                                                 :                            19,

                               Anthony Vickhair, Sr,, is the surviving spouse and heir of Tena Hayden.

                                                                             20.

                               Heidi Vi cknair Viola is the surviving daughter and heir ofTena Hayden

                                                              ,              2t..
                           Anthony Vickiair, Jr., is ihe surviving son and heir ofTena Hayden.

                                                                             na


                          .Pursuant ,o L8l            c.c. art.  15.2(A)(l ), Anthony Vicknair, sr., .Heidi vicknair viola, And
                                                                  23
                                                 I
                                                                                                            .the
              Anthony Vicknqir,                 Jr.,    as the surviving spowe, children, and heirs of           deceased, Tena
                                                 I


              Hayclen, ls entitled tol and does hereby assert a clalm foi the damages they have sustalned as a

              resutt of the wrongful death of rena Hayden, which damages include, but are noi limited tor
                                                 !

                           a.         Past ri:motional pain and suffering :from the death and loss        of their sporise and
                  :                   mother;,.
                          'b,.        Fuhuc fmotional pain and suffering ftom the death and loss oftheir spouse and
                                      mother;i




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Case 3:19-cv-00003-BAJ-EWD                   Document 1-2                      01/02/19 Page 6 of 20




                               '    Expenses sustalned as a reeuli        ofthc'ntimely          death   oftheir   spouse and motber;
                                    and

                        d.          The loss of rove, affection, companionship and society from                        their     deceased
                                    spouse,and   mother.
                                                                          n.
                       Pursuant to La,      c.c.   aft. 2315,1(AX2), Anthony Vicknair, dr,, Heidi Vicknairviola,
                                                                                                                 And
               Anthony Vicknair,          rr.,   as the sutviving spousor children, and heirs of the deceased, Tena

               Hayden, are entitled. to, and do hereby assert a survival action for
                                                                                    the damages sustained by
                    ,t
               Tena Hayden as a resu.lt of the acts of Robert DeAngelo
                                                                       which caused her death, whlch damages
               inolude, but are not limited to:

                       q.    Terror, fear and fright sutlered prior to the crash;
                               .t
                       b,    Terror fear and &igh! suffcred after the *ash until the time of her death;


                      'andJ
                       d'    Emotional and mental anguish suffered prior to the crash until
                                                                                            the time of her death.


                              .:24,
               .      The amount 6f the c.ur. of action assefted herern. exceeds
                                                                                 $j0,000,00, exclusive of
              judicial intc.resl and court costs,     ar1d, as a   result, plaintiff hereby requesti       a   trial byjury.
                      WHEREFOF.P, PIAINiiffS, ANTHONY VICKNAI&                                       SR, IIIIDI VICKNAIR
              vIoLA' AND ANTHOI{Y yIcKNArR, JR., surviving spouse, chlldren and heirs
                                                                                                  of the
              decedent, TINA ITAYDEN, pray that defendants be sewed
                                                                    with this petition, and, aftcr.boing
              duly ctted to appear ahd answer same and tlre expiration ofall legal
                                                                                   delays and due proceddings
              are had, that tlrele,!e     judgme't   rendered herein      in favor of plqlntjffg, ANTH0NY VICKNAIR,
              sR'   TTEIDI vrcKNArR                 vIoLA' AND ANTHONY vIcKNd&                                     JR.1 and against
                      LM GENERAL INsuRANcE coMpANy, ROBERT DEANGELO, cB&r,
              defendants,

              LLc; McDDRMori, nvc., jointly and in solido, for such damages as irre ieasonable in the
              premises, together      with legal lnterest from the date of judlcial demand until paid, all costs of
              these proceedingq and such further and equitable relief to                whichplaintiffmay be entitled,




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Case 3:19-cv-00003-BAJ-EWD                    Document 1-2        01/02/19 Page 7 of 20




                                                           BYATTORNEYS


                                                           DUDLEYbEBOSIER, APLC



                                                           W, Paul
                                                           Ross M. LeElanc g{o, 3
                                                           1075 Governmeht Shoet
                                                           Baton Rouge, LA 70802
                                                           Telephone: (225) J7 9 -3 433
                                                           Counsel for     Plaintiff




               PLEA$ESERVEI

               LM GENERAL INSURANCE COMPANY
               Through its agcrtt for s€rvica ofprocess;
               The Louisiana Secrotary of State
               8585 Archive Blvd
               BatonRougg LA 70809

               ROBERTDEANGLEO
               YIA LOUISIANA LONG AR&I STATUTD
               16092 Sub Lqdner Road
               Gulfoort, MS 39503
               Or WhercverDe,fendant May Bo Found

               cB&I, LLC:
               Through its agent for service ofprocess
               CT Corporation System
               3867 Plaza Towsr Drive
               BatonRouge, LA 70816

               MCDDRIVIOTT, INC.
               llrough its ageiri for service ofprocess
               CT Corporation Systenr
               3867 Plaza Towen Drive
              BatonRouge,LA 70816

               STATIT FARM MUTUAL AUTOMOBILE INSURAI\ICE COMPANY
              Through its agent for service ofprocess:
              The Louisiana Secretary ofState
              85E5 Archive Blvd
              Baton Rouge,   LA   70809




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                       ANTSONY RAY VICKNAIR, SR.,                                                          DOCI(ETNO.:                          SECT:
                       IIEIDI VICKNATR VTOLA, AND
                       ANTHONY RAY VICKNAIR, .IR.

                       VERSUS                                                                              19TH       JUDICAL DISTRICT COURT
                       LM GENERAL INST'RANCE
                       COMPANY, ROBERT DEANGELOI
                       CB&I, LLC; MCDERMOTT, INC.,                                                        PARISH.OF EAST BATON ROUGE
                       AND STATEFARMMUTUAL
                       AUTOMOBILE INST'RANCE
                       COMPANY                                                                            STATE OF LOUISINA



                                                                         RpouEsT FOR,NOTTCE

                       To       Clerk'of Court
                                19rh Jqdlcial .District Court


                                In    accordance   with Louislana Code of Civil Procedute Anlcle 1572, you are hereby
                       requested to give us notice by mail teh (10) days in advance                                       ofthe daie fixcd for trial or hearing
                       of this caso, whether on o(c€ptions, motions, rules, or the merits.


                                We also request tm4ediate notice of ail orders or judgmcnts, whether iuieflocutory or

                       final, mado or rendered ln this case upon tbe rendition thercof                                        as   provided by Louisiana Code of

                       Civll Proccdure Articles 1913 and 1914, including notice ofjudgnent in the event this                                                  case is

                       taken under advisemen! or       ifthcjudgrirent is not signed at tho conclusion ofthe trial.


                                                                                                 BYATTORNEYS;


                                                                                                 DUDLEY DEBOSIE& API,C




                                                                                                 Ross M.       Q'lo.
                                                                                                 1075 Govemment Street
                                                                                                 Baton Rougo, LA 70802
                                                                                                 Telephonc: <225), 37 9 -3 433
                                                                                                 Counsel for Plaintiff




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                        ANTHONY RAY VICKNC.IR, SR-,                                                                            DOCI(ETNO.:                                     SECT:
                        IIEIDI YICKNAIR VIOLA, AND
                        ANTHONY RAY VICKNAIR, JR.

                        VERSUS                                                                                                 I9TI{ JUDICAI DISTRICT COIIRT

                        LM GENERAL INSURANCE
                        COMPANY, ROBERT,DEANGELO,
                        CB&I, LLC, MCDERMOTT, INC.,                                                                           PARISH OFEASTBATONROUGE
                        AND STATE F'ARM MUTUAL
                        AUTOMOBILE INSURANCE
                        COMPANY                                                                                                STATE OFLOUISINA
                     ' I r'i i t r I r I r t a . r I   rarr       a a   r   a a a   r   a   i. rrrrrrr.rrrriarrrl rrrt.arr                               a aa a   l I rrII rt rrrrraaa.!               a   I

                               PLAI TTIFT''S FTRST SET Otr REOUDSTS f,'OR PRODUCTION OF'DOCI,]MENTS
                                       AND THINGS TO LM GENERAL INSURANCE COMPANY


                              NOW INTO COURT, tltough undersigned counsel, comeo Plaintiffs,,Anthony                                                                                                 Ray

                        Vlcknair, Sr., Heldi Vickoair Viola and'Anthony Ray Vicknair, Jr., who propound the following

                       Interogatoties and hequests for Produotion of Documents and Things upon befendant, LM

                        General Insurance Company, to be answered in writing, under oath, and within the time provid.od

                        by the Louisiana Code of Civil Procedure:

                        nB.gurSr ro&pBonucrronq xo.                                                          r:
                               '       Pleaso produce copies                        of           any/all policies             of     insurancs providing coverage to Rbbert

                       DeAngelo, or the truck he was driving by LM Oeneral Insurancg Company,

                       REoUEST FOR PRQDUCTTON NO. 2r

                          .        .
                                       Please provide copies                    of any/all statements, recording(s), or videotepe(s) taken from/of
                       ony witnesses or pelsons coriceming the facts                                                   ofthis collision,

                       BEOp-FST rOR PROpUCTTON NO. 3;

                                       Please produce copies                                of any and atl                     estimates, appraisals, diagrams, invoicos,

                       photographs, oi other documents or things of any natute or description evidencing, documendng,

                       or siiowing the damagcs to the vehlcle(s) involved in this collision

                       REOIIEST.FQB PRO-DUCTION NO.                                                         a;     ,


                                       Please produce copies'                           of nny photographs                           obtained at the scene                       of the collision
                       purporting to depict any vehicle lnvolved, any pef,son involved or the collislon scbne.




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Case 3:19-cv-00003-BAJ-EWD               Document 1-2       01/02/19 Page 10 of 20




                                                    BYATTORMYS:


                                                    DUDLEYDEBOSIER, APLC



                                                    w,                        (No. I
                                                     Ross M. LeBlanc (l.lo. 3 3940)
                                                    '1075 Govemment Street
                                                    Paton Rbugq LA 70802
                                                    Telephone: (225) 379 -3433
                                                    Counsel for      Plaintiff

               PLEASE SER\IE WTfH PETITION TOR DAMAGES




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Case 3:19-cv-00003-BAJ-EWD                          Document 1-2              01/02/19 Page 11 of 20
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                            Court




                        ANTIIOI{Y RAY VICKNAI& SR.,'                               DOCKETNO.T                          SECTi
                        HEII}I VICKNAIR VIOLA, AND
                        ANTIIONY RAY VICKNATR, JIL

                        VERSUS                          .
                                                                                   19TH      JUDICAL DISTRICT COURT
                        LM CENERALINSURANCE
                        coMPAI{y, ROBERT DEANGELO,
                        cB&I, LLC, MCDERMOTT, INC.,                               PARISE OF EAST BATON ROUGE
                        AND STATEFARMMUTUAI,
                        AUTOMOBILE INSURANCE
                        COMPAI{Y                                                  STATE ONLOUISINA




                             Now rNTo couRT,                 through underslgned counsel, comes plaintiffs, Anthony Ray

                       Vlcknair, Sr,, Heidi Vicknair Viola and Anthony Ray Vicknair, Jr., who propound tle following.

                       Interogatories arrd Requests for Production of Documents and Things ufon Defendant, Robort

                       DeAngelo, to be answored ln writing, uader oath, and witliin the timc provided by the touisiana

                       code of civil      Procedute:
                                                                   INTERR'.AT'RIES
                       INTERROGATORYNO. Ir

                                    Please state all narnes by which you have boen known, your date             ofbirth, curront        address,

                       your address at the.time of ihe accident, your Social Secutity number, your marital status, the

                       identity of your spouse, your driver;s licenso number, your employer and your oocupation,

                       INTERROGATORY NO.2:

                                ' Please state whether you were in the course and scope of employment at the timp of the

                       crash on February 2, 201 8,

                       TNTERROGATORY N.O-.3:
                                                                                                        :
                        .           Please state the cellular telephone number and provider           for any and all cellular phone(s)
                      'availablo for the regular use by Robert DoAngelo on February 2,2018,

                       TNTERROGATORY NO.4:
                             ' If you consumed any drugs, medicatisns or alcoholic beverages during the twelve (12)
                       houts piior to the accident, specify the kind, arnount, and place taken.             _




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               INTEBF0GATORY NO,                      Sr

                            State whether j'ou have been.convicted                  of any misdemeanor, and/or any fclony withln the
               last ten years.       Ifso,   please provide.the       folloviing:

                            a.   Nature ofthe charges;
                            b.   Dato ofthe offense;
                            c,   Parish in which the charges were brought;
                            d,   Dispositiop ofthe oharges; and
                       .         S"nl"n.e received.
                            ".
               INTERROG.ATORY NO-6i

                            Other than arrcsts for each of the crimes identified in your response to the immedicitely

               preceding inrerrogatory, have you ever been arrested for any other reason?                          Ifyour     answer is in

               the affirmative, please provide the following:
                   '       a. Natureofthecharges;                                                           :
                           b. Dateofthcoffense;
                           c, Parish in whioh the charges were brought;
                           d. Disposition of the charges; and
                   '       e. Sentence reoeived.
               INTERROCATqBYNOT 7j

                      Please identify'all insurance policies, inoluding any excess or umbrella insurance, whioh
               provided insurnnce coverage to you on tho datc of this crash. For each policy of insurance
               identifled, please state the following:
                           a.    The name and address of the named insured;
                           b.    The total numbcr of policies with each policy number; and,
                           !.    The type of covgrages provided and the limits of Iiabillty for eaoh type of coverage,

               INTERROGAI'ORY N().8:                       .




                           .Please   provide the name(s), addrcss(es), and rtore number(s) of at phannacies used to                          flil
               prescriptiond during the last ten (10) years.

               TNTERROGATORY NO.g

                           Please state whether or not you received any citations and/or oharges                    in oonnection wlth
               the orash sued upon herein and the disposltion ofsame.

                                                       REOUESTS FOR PRODUCTION



               REQIJEFJT TOR P.B.ODUCTION NO. 1:

               .           Please produco copies.          of      aniy/all polioies     of    insurance providing coverage     to Robert
               DoAngelo on February 2,2018,                    '




                                                                             Hwlw]ntL
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                                                                               Eail Bolon Rougo Parlth
                                                                                    Doputy Clork ol Courl            l1/13/20'18 2:25 Fill


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Case 3:19-cv-00003-BAJ-EWD                Document 1-2                         01/02/19 Page 13 of 20




                REOUEST FOR PRODUCTION NO. 2:

                         Please provide copies of               Btatemgnts' recording(s),             or videotape(s) taken from,/of
                                                      .qn/ail
               any witnesses oi persons.concerning the facts ofthig crash.

               REOUEST, ['OR PROD UCTION.T.{O.                  3    I

                         Plcase p.roduce copies     of any photographs obtained at the                         scene    of the     coiliqion
               purporting to depict qriy vehicle involved, any person involved
                                                                               or the crash scene.
               RBOUEST FOR         qRqpucTro
                         Ploase produce.copics    of any and all cellular phone                     accounts   and      iteurlzed bllllng
               summaries    for any cellulal phone available for the regular use by Robert DeAirgelo Aom the

               month or months that lnclude February 2, 2019, wlthin its billing cyclo.

               REOUEST r,OR        PRgpucTroN No.               5:

                        Please produc6d copies      of any contract or empioyment                     agreement   with cB&I, LLC
               and/or McDe.lrnott, Inc,

               R$QUESTS'oRPRQpUCTroNNo.6i                                                     :


                                                                                                                           'trglel
                        ,Please produce copies    of any        dobument pertaining                to the rsimbursement of
               expenses to Robert DeAngblo from CB&I,                LLC and/or McDerrhoti, Inc,.
               REpUn'sT FO& pRopUCTroN Nof Zi

                        Pleasg produce copies    of   any paystubs           or other svidence of pa),rnents receivod from'
                                                                                         ..
               CB&I, LLC and/or McDermott, Inc, for any reaso4.
                                                                                    .'
               RDqUEST FOR P$pnuqTrorY No. Si

                        Please produce coples of any document perlaining to'travel expenses submitted to
                                                                                                                                     CB&I,
              LLC and/or McDermotl In'c,, for reimbursement, whether or not paid.

              RF   quI'ST roR PRpDI        ISTIoIY_ l!   gJi
                    '   Pleaso produce oopies    of   any and'all applloatibns for employment with cB&I, LLc

              and/or McDermott, Inc,

              REOUEST FORPRODUCTION NO.                     loi
                        Please produce copies    of any and all receipts pertaining to travel, lodging,.meals or
              gasoline purchased     in   comection with travel               to and from work for'cB&I, LLc                         and,/or

              McDermott, Inc.




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                                               BYATTORNEYSI


                                               DUDLEYDEBOSIER, APLC



                                               --2au!illr*
                                               W. Paul Wilkiris (No. tss3$''.-------_
                                               Ross M. LeBlanc (No. 33940)
                                               1075 Goiornmont SheEt
                                               Baton Rouge, LA 70802
                                               Telephone:(225)37.9-3433        . .,
                                               Councol for         Plaintiff       .,'




               PI,EASE SERVE   Wrrg rnrtrloN FoR DAMAGES




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                      ANTIIONY. RAY VICKNAIRT SR.i                                     DOCKETNO.T                   SECTI
                      HEIDr YICKNATR VIOLA, ANI)
                      AMIIONY RAY VICKNAIR, JR,
                      VERSUS                                                           19TH       trt'DICAL DISTRTCT COURT
                      LM GENERAL INSURANCE
                      COMPA.I{Y, ROBERT DEANGELO,
                      cB&I, LLC, MCDERMOTT, INC.,                                      PARISII OF EAST BATON ROUGE
                      AND STATE FARMMUTUAL
                      AUTOMOBILE INSURANCE
                      COMPANY                                                          STATE OTLOUISINA




                                                                              INC.


                          Now INTO coutlr,                      through undersigned counsel, comcs plaintiffs, Anthony'Ref
                      vicknair, sr,, Heidi Vickneir Viota. and Anthony Ray vicknair,                      Jr.,   who propounds          the

                      following tntenogatories and Requests for produotion of Documents and Things,                                    upon
                      Def<tdants, cB&I,         LLc,    and McDcrmott,       Inc,, to      be answered in wrlting, under oath, and

                      within the tims provided by the Louisiana Code of Civil procedurel

                                                                      INTEBROGATORIES
                      INTFFEOQATORYNO, 1i

                              Please state Robert DeAngelo's dates                  of   ernployrnent    wjth cB&I,      LLC,      andlor

                     McDennott, Inc,

                     INTERROGATORY NO. 2:
                                            '

                              Please state whether or not Robert DeAngelo was in the course and scope of employment

                     with CB&I, LLC, and/or McDcrmott, lnc., on February 2,Z0lg,

                                                        '   REOgESTS FOR PRODUCTTON
                                                            I
                     REOUEST FOR PRODUCTION NO. 1:

                      ,       Please produce copies             of any/ail policies of    insurance providing cbverage      to    CB&I,

                     LLC, and/or McDertnott, Ins. and Robert DeAngelo on February 2,2}lg,

                     REoUEST FOR BRODUCTIoN No. 2r

                              Please produce      all   documents relative       to recorded or wriften      statements taken &om

                     Robert DeAngelo in conne.ctlon wlth the collislon sued upon herein.




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Case 3:19-cv-00003-BAJ-EWD                                    Document 1-2                                   01/02/19 Page 16 of 20




                   R&OITEST r,OR PRODUCTTbN NO. 3:


                                Please produce any and                             all documents relative to policies and procedures of CB&I,
                   LLC' and/or McDeimott, Inc, with respect to the document retention policy
                                                                                             of cB&I, LLc,
                   and/or McDermot! Inc,for the employment history,
                                                                    drug screens/physicars, medicar recordi,
                   driving logs, trips, tickets, colllsions, employee reprimand and
                                                                                    lawsuits or claiins including
                   Robert   DeAngelo.                                                                                                                                   .   .:




               BEQIIEST FOR PROCUTION NO. 4:

                        '   Please produQe copies                            of all infonnation gathered whcn the decision was made to hirc
               Robert DeAngclo, lncluderlf,y not limitod to driving
                                                                    records, criminal records and qualifications,'

               RDOIrf,,S"t           EoRlRonucTJON No,                                          5,


                            Please produgg a copy ofRobert DeAngelo's entire personnel
                                                                                       file:

               RE9U[:ST FOR                      PRbpucrroN No,                                 6!
                                          ,I

                        'Please produce any and                               all ofthe following documents in your possession that date baok
               to the 30-day perlod.before, urd lncluding, .the date of the
                                                                            wreck:

                                         Accideflt reports
                                         Bills of lading
                                        Credit card receipts'
                            .           Fuel biiling statehents
                                        Fuel receipts
                                        Mial or lodging receipls
                            .           Oasoline purchase ieceipis

               REOUFST IroR PROnUqTJON NO.
                                                                                               "s

                        Please produce.copies of any manuars pertaining to travel,
                                                                                   lodging, or reimbursement                                                                     0o

              employees of CB&I; LLC and/or McDcrmott, Inc,




               .        Please produce, copies                                of any ernployment                    rnanuals that address                  in   any fashion,
              compensation and./or reimbursement for                                           tavel   expenses incuned by cmployees.




               rP*R\                                                                                 ?lwN-yfulL
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Case 3:19-cv-00003-BAJ-EWD                     Document 1-2                    01/02/19 Page 17 of 20




                    REOUEST FOR PRODUCTION NO. 10:

                           Please produce copies     of any and ail documents pertaining to compensation, pci dieur,
                                                                                                                     or
                   reimbursement.to Rdbert.DeAngero durlng the time
                                                                    of his employment wrth                       cB&I, LLC and/or
                   McDermott,      Iric. .                                                                        :




                   Rn'quEsT FOR PRODUCTION,NO-:
                                                              -l I   !


                      Please produce copies of any conhact or employment
                                                                         agreement with Robert DeAngelo,

                   REOTJEST     roR    PRODUCTTON NO. 12:

                           Please produc'e copies     of any dooument pertaining to reimbursement. or proviiion of
              't
                   travel expenses for Robert DeAngelo,



                          Plehse producp copies      of all paystubs or other evidence ofpayments received by Robert
                                                                                                                                        ':'
                   DeAngleo from CB&I, LLC aod/or McDennott, Luc., for any reason

                   REOUEST FOR        PRdDrrcIIqN         NO. 14!
                          Please producb copies     ofany and all documents pertaining               1o   travel expenses eubmittad
                   by Robert DeAngleo    to-   cB&I, LLC and/or MoDermott, Inc,, for reimbursemont, whethir                             or not
               paid                      :




               BFQIrnsr FoR pRopucTrQli Ng. ls,i
                          Please produce copies Robert DcAnglo's appttcatibn for employment
                      .                                                                                         with cB&I, LLc
               and/or.McDermott, Inc,

               REOI,]EST FOR PROI,UCTION NO. 16:

                          i'1"*.   produce,copics     of any    and      all     receipts submitted        to CB&I, Llc.and/bi
               McDermott, Inc,, froin Robert DeAngloo pertaining to toEver, lodging, meals,
                                                                                            or gasgline
              purchased in connectidn with travel to and ftom woik for cBe;I,                      LLc   and,/or McDermott, Inc




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Case 3:19-cv-00003-BAJ-EWD      Document 1-2       01/02/19 Page 18 of 20




                                               BYATTORNEYS:


                                               DUDLEY DEBOSIB&'APLC



                                                                  19830)
                                              Ross M. LeBlanc     33 940)
                                              1075 Governmc[t Stroct
                                              Boton Rolge, LA ?0802
                                              Telephone: (22s)179-3433
                                              Counsel for Plaintiff


               PLEASE   $rnvg lyrru pETriIoN FoRDAMAGEs




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                                              'Earl Brlon Rougo Pcrlih


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Case 3:19-cv-00003-BAJ-EWD                                             Document 1-2                             01/02/19 Page 19 of 20
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                        of




                         ANTIIONY RAY VTCKNAIR, SR.,                                                                  DOCKETNO,:
                                                   '                                                                                            SECTI
                        IIEIDI VICKNAIR VIOLA, AND
                        ANTHONY RAY VICKNAIR, JRI

                        VERSUS                                                                                        19n{ JUDICAL DISTRICT COURT
                        LM GENERALINSURANCE
                        q9MPANY, ROBDRT DEANGELO,
                        c.
                           I*rr l,Lc, MCDERMOTT, INC.,
                        AND STATE FARM MUTUAL
                                                                                                                     PARISH ON'EAST BATON ROUGE
                        AUTOMOBILE INSI]RANCE
                        COMPAI{Y                                                                                     STATE OF'LOUISINA
                        "lll'l'l!tt'ttllllllrll'tlllllt't'taaltralrrttrtttralatriraatrrrararairrrrrrt,




                                 Now rNTo couRTr                                 through undersigned counsel, comos plaintiffs, Anthony
                                                                                                                                        Ray
                       Vicknair, sr., Heidi iri"tnoi, viola and Anthony Ray vicknair,
                                                                                      Jr., who propound the foliowing
                                                               :


                       Requests            for Production of                     Documents and Things upon Defendant, state Farm
                                                                                                                                 Mutual
                       Automobile Inswanos company., to de answorod in writing,
                                                                                under oath, and within tbe tjme
                      . provided by the Louiliana Codo
                                                       of                                Civil procodure:
                       REoyEqT roR                       e,\anucr
                                    Ploaso produce copies                          of    any/alr policios            of   inswance providing.ooverage to Tcna

                                                                                       by state Farm Mutuar Automobirp rnsuon"u                co.p*y.
                       ::t::::::::
                       RpoUEsr FOR I]::"l"ng
                                   pRopugrr0NNO.                                                   Zi
                                  .Please produoe copres                             of any and all                 estiihates, apprarsals, diagrams, invoices,
                      photogaphs, or other.documonts or things ofany
                                                                     naturo oi desoription evidencing, documenting,
                      or showing the damages to the vohiole(s) invohed in
                                                                          this oollision.
                      REOUEST F'OR-PRODUCTION NO. 3:

                                  Please produoe copies                           of any photographs
                             .                                                                                         obtained at the scene   of the     collision
                      purporting to dopict any ve[icle involved, any porson
                                                                            involvod or the collision scene.




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Case 3:19-cv-00003-BAJ-EWD     Document 1-2       01/02/19 Page 20 of 20




                                              BYATTORNEYS:.


                                              DUDLEY DEBOSIER, API.CI



                                                 Paul              19830)
                                              Ross M.         (No, 33940)
                                              1075 Governrnont Streot
                                              Baton Rougo, LA70802
                                              Talophono: Q25) 379-3433
                                              Counsol for Plalntiff



                PLEASD SERVD WITII PETITION TOR DAMAGES




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